 

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 1 of 27 Page |D #:20

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At-tome;ys for Defe.ndant _
P_c)rtf@_lm Recovery Assocxatesi, LLC

UNITED STATBS. D':STRICT CC)U"RT`
CHNTRAL DI_STRICT C)F CALIFORNIA
WESTERN DLMI§

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VS.

PORTPOLIO RECOVERY
ASSOCIATES, LLC,

De'fendant.

 

 

 

WO'N`G v. PORTFQLIO RECOVERY SERVICES, LLC (CASE NO. ')
NOTICE OF REMOVAL

 

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TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that defendant Portfolio Recovery Associates, LLC
(“Defendant”), a DelaWare limited liability company, hereby removes to this Court
the state court action described below.

1. On September 16, 2013, a complaint Was filed against Defendant by
plaintiff Dickson Wong (“Plaintifi”), in an action pending in the small claims
division of the Alhambra Courthouse of the Superior Court of the State of California
in and for the County of Los Angeles, entitled Dickson Wong v_ Portfolio Recovery
Assocr'ates, LLC, Case No. 13G05237. A copy of the state court complaint
(“Complaint”) is attached hereto as Exhibit A.

2. This removal petition is timely under 28 U.S.C. § 1446(b) because
Defendant Was first served vvith a copy of the Complaint on Septernber 19, 2013.

JURISDICTION
3. This action is a civil action of Which this Court has original jurisdiction
under 28 U.S.C. § 1331 and Which may be removed to this Court by Defendant
pursuant to the provisions of 28 U.S.C. § 1441(a) in that the Complaint asserts
claims against Defendant under the Fair Debt Collection Practices Act, 15 U.S.C. §
1692, et seq. and the Fair Credit Reporting Act, 15 U.S.C. § 1681, et Seq. See
Exhibit A, at p. 2,11 3.

VENUE
4. The Complaint Was filed in the small claims division of the Alhambra
Courthouse of the Superior Court of California, County of Los Angeles. See Exhibit
A. Venue in this District Court is proper. See 28 U.S.C. § 1441(a) (providing for
removal “to the district court of the United States for the district and division

embracing the place” Where the state court action is pending); 28 U.S.C. § 84(c)

 

 

WONG v. PORTFOLIO RECOVERY SERVICES, LLC (CASE NO. )
NOTICE OF REMOVAL

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(Central District comprises the counties of Los Angeles, Ventura, Santa Barbara,
San Luis Obispo, Orange, Riverside, and San Bernardino).

5. Defendant is represented by the undersigned

DATED: October 18, 2013 SIMMONDS & NARITA LLP
JEFFREY A. TOPOR
ARVIN C. LUGAY

M’>

Arvin C. Luga \--/
Attorneys for efendant .
Portfolio Recovery Associates, LLC

 

 

 

WONG v. PORTFOLIO RECOVERY SERVICES, LLC (CASE NO. )
NOTICE OF REMOVAL

Case 2:13-cv-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 4 of 27 Page |D #:23

EXhibit A

Case 2:13-cv-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 5 of 27 Page |D #:24

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Plaintiff’S Claim and ORDER

SC'100 to Go to Sma|l Claims Court

Notice to the person being sued:

o You are the Defendant if your name is listed in @ on age 2 of this
form. The person suing you is the Plaintiii`, listed in on page 2.

o You and the PIaintiff must go to court on the trial date listed below. If§'i)u~n$`[
do not go to court, you may lose the case.

~ If you lose, the court can order that your wages, money, or property be'i'z’ ._H~ __s____%_ . D§ F UT`\§ 7
taken to pay this claim.

- Bring witnesses, receipts, and any evidence you need to prove your case.

- Read this form and all pages attached to understand the claim against
y_ou and to protect your rights.

 

Fill in comr name and street address:
Superlor Court_of Ca|iforn|a, County of

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Aviso al Demandado:

' Usted es el Demandado si su nombre figura en@de la pagina 2
de este formular'io. La persona que lo demanda es el Demandante, la que
figure en®de 1a pagina 2.

' Usted y el Demandante tienen que presentarse en la corte en la fecha del
juicio indieada a continuacion. Si no se presenta, puede perder el caso.

' Si pierde el case la corte podria ordenar que le quiten de su sueldo, dinero u
otros bienes para pagar este reclamo.

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Clerk fills in case number and case namer
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- Lleve testigos, recibos y cualquier oira prueba que necesite para probar su caso.
, Lea este formulario y todas las paginas adjuntas para entender la demanda en su contra y para proteger sus derechos.

Order to Go to Court

The people in @ and ® must go to court: (crertjt!a am section below.)

 

') Date Time

 

Trla|
Date

Deparlrnent Name and address of court if different from above

 

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3.
Date: SEP l 5 2013 Clerk, by

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lnstruetions for the person suing:
' You are the Plaintiff. The person you are suing is the Defendant.

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- Before you fill out this fonn, read Form SC-lOO-INFO, !nfc)rmationfor the Plainti}jj to know your n'ghts. Get
SC-IOO¢INFO at any courthouse or county law library, or go to: www.courts.cagov/smallclaims/fonns.

- Fil] out pages 2 and 3 of this form. Then make copies of all pages of this form. (Make l copy for each party named in
this case and an extra copy for yourself.) Take or mail the original and these copies to the court clerk’s office and pay

the filing fee. The clerk will write the date of your trial in the box above.

- You must have someone at least IS_not you or anyone else listed in this case-~give each Det`endant a court-stamped
copy of all 5 pages of this form and any pages this form tells you to attach There are special rules for “serving,” or
delivering, this form to public entities, associations, and some businesses See Forms SC~104, SC-104B,

and SC-104C.

- Go to court on your trial date listed above. Bring witnesses, receipts, and any evidence you need to prove your case.

 

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116.220¢¢).116.340(9) (Small Claims)

Plalntiff’s Claim and ORDER
to Go to Smali Claims Court

SC-100, Paga 1 of 5
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Case 2:13-cv-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 6 of 27 Page |D #:25 ‘

 

Case Number:

 

 

Plaintiff (list names): \.D[Q£S’M A/OA/t’s`?
® The P|aintiff (the person, business, or public entity that' ls suing)‘ is:

Name: blGKS¢-“_ filling Phone:(£y, 1457 -57€>?
Street address: …, mr chem
Si‘reet City State Zi`

Maili addre rif nt :
ng SS df jer )

 

 

 

 

 

 

Ci'ty State pr
lf more than one P|aintiff, list next Plaintiff here:
Name: Phone:( 2
' Street address:
city stare zip
Ma.iling address Hfd§g?érenz):
street ciiy sara zip

l:l Check here if more than 2 Plaintz_'j's and attach Form SC-I OOA.
l:l Check here if either Plaintiff listed above is doing business under a fictitious name lfso, attach Form SC-t1 03.

@ The Defendant (the person, business, or public entity being sued) is:

 

 

 

 

 

Name: Ll_(_‘_, Phone: 1300 !ZZ;\_-Ll,f/_f,
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saw / city siers zip
Mailing address nyamreni).- 7625 N. I‘?Mw /9w_ ,Jg,`ee /03, Heg,vo 04 ‘?s'zi/
Mr.ir Avma q¢ii!.._ sriaei ' ciiy sine zip
|f more than one Defendant, list next Defendant here:
Name: Phone:( l
Street address:
Street City Stete Zip
Mailing address (tfdt_'jerent):
sheer cry sine zip

 

l:l Check here if more than 2 quendanis and attach Form SC»IOOA.
1:1 Check here if any Defendant is on active military duty, and write his or her name here:

@ The Plaintiff clalms the Defendant owes $ Zooo"'-` .(Explain below):
a. Why does the Defendant owe the Plaintift` money? 32 FD €

  

 

b. When did this happen? (Date). d

If no specific date, give the time period: Dnte started: MOLB_ Fhrough. M/§
c. How did you calculate the money owed to you? (Do not include court costs or fees for service )
6 .__ _M . F _'; ` __'.,L,J , @%

Ed/Check here if you need more space Attach one sheet of paper or Form MC-O$I and write “SC-IOO, Item 3 ” at °M

the top a?v.ws

"°“'°°‘“"‘""-2°‘2 Plaintiff's C|a|m and ORDER 56'1°°, Nan °f5
to Go to Small Claims Court -)
(Small Claims)

   

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 7 of 27 Page |D #:26

 

 

 

 

 

 

 

 

MC-031

_ PLAiNnFFiPE'rmoNER: Dickson Wong cAsF NpM{eFER~ ` 55 Q v ij

oEFENoANTiREsPoNoENT: Portfolio Recovery Associates, LLC "’E `“”` * *“ *L‘ “"1 "

DECLARATlON
(Thi`s form must be attached to another form or court paper before it can be filed in oouit.)

SC-100, item: 3a)
-Affected credit accounts:
-Partial account#545800242086 ..... ( as listed on Credit Report Agencies)
-Partial account#5491 10001053.....
AHecwd reports Crodit Report Angencies:
-Experian, Equifax and TransUnion
For complete FDCPA:
http://Ww.ftc.gov/os/statutes/fdcpa/fdcpact.shtm
For complete FCRA:
http://www.t’cc.gov/os/statutes/OS 1224fcra.pdf

l declare under penaity of perjury under the iaws of the State of Califomia that the foregoing is true and correct

Date: 09-16~2013

Dickson Wong f

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l:] Respondent m Other (Specify):
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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 8 of 27 Page |D #:27

MC-031

 

___ PLAleri-'FiPErrriONER: Dickson Wong cAsE NuMeER;
oEFENoANr/RESPONDENT: Portfolio Recovery Associates, LLC ` '§ :§ i:; §§ o iii §§

 

 

 

 

DECLARAT|ON
(This form must be attached to another form or court paper before it can be filed in oourt.)
SC-lOO, item: 3a)
l. Multiple FDCPA (F air Debt CoIlection Practice Act) violations:
§ 809. Validation of debts [15 USC l692g]
(a) Within five days after the initial communication with a consumer in connection with the collection of any
debt, a debt collector shall, unless the following information is contained in the initial communication or the
consumer has paid the debt, send the consumer a written notice containing --

(l) the amount ofthe debt;
(2) the name of the creditor to whom the debt is owed;

(3) a statement that unless the consumer, within thirty days after receipt of the notice, disputes the validity of
the debt, or any portion thereof, the debt will be assumed to be valid by the debt collector;

(4) a statement that if the consumer notifies the debt collector in writing within the thirty-day period that the
debt, or any portion thereof, is disputed, the debt collector will obtain verification of the debt or a copy of a
judgment against the consumer and a copy of such verification or judgment will be mailed to the consumer by
the debt collector; and

(5) a statement that, upon the consumer's written request within the thirty-day period, the debt collector will
provide the consumer with the name and address of the original creditor, if different from the current creditor,

(b) If the consumer notifies the debt collector in writing within the thirty-day period described in subsection (a)
that the debt, or any portion thereof`, is disputed, or that the consumer requests the name and address of the
original creditor, the debt collector shall cease collection of the debt, or any disputed portion thereof, until the
debt collector obtains verification of the debt or any copy of ajudgment, or the name and (to be continued)

l declare under penalty of perjury under the laws of the State of Ca|ifomia that the foregoing is true and correct
Date: 09-16-20] 3

Dickson Wons /%¢M

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[:i Attomeyfor P|ain l:l Petitioner l:l Defendant

|:i Respondent i:i ther (Speci'ty):

 

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MC-°WRW.MH.MSJ Page1ar1

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 9 of 27 Page |D #:28

 

_ PLAiNnFFrPErlnoNER: Dickson Wong cAsE unijax-ing {:§ §§ § § »; ;,
oEFr-:NDANT;REsPoNoENT: Portfolio Recovery Associates, LLC W

 

 

 

 

DECLARATFON
(‘Hn`s form must be attached to another fonn or court paper before it can be filed in court )

SC-IOO, items 3a)
l. Multiple FDCPA (F air Debt Collection Practice Act) violations:
§ 809. Validation of debts [15 USC l692g]

to continue (5) (b):
or name and address of the original creditor, is mailed to the consumer by the debt coliector.

(c) The failure of a consumer to dispute the validity ofa debt under this section may not be construed by any
court as an admission of liability by the consumer.

t declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true and correct

Date: 09-16-2013

 

 

Dickson Wong
nYPEoRPRlNr NAME) (siGNATunE oFoE¢': ’
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l:l Respondem |:l other (speery).-
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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 10 of 27 Page |D #:29

 

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oEr=Equr~rT/RESPONDENT: Portf`olio Recovery Associates, LLC ' t tr 13 "~r d '

 

 

 

 

DECLARAT|ON
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SC-IOO, item: 3a)
l. Multiple FDCPA (Fair Debt Collection Practice Act) violations:

§ 805. Communication in connection with debt collection [15 USC 1692c]

3(b): COMMUNICATION WITH THIRD PART[ES. Bxcept as provided in section 804, without the prior
consent of the consumer given directly to the debt collector, or the express permission of a court of competent
jurisdiction, or as reasonably necessary to effectuate a postjudgment judicial remedy, a debt collector may not
communicate, in connection with the collection of any debt, with any person other than a consumer, his
attorney, a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the creditor,
or the attorney of the debt collector.

(c) CEASING CON[MUNICATION. If a consumer notifies a debt collector in writing that the consumer
refuses to pay a debt or that the consumer wishes the debt collector to cease further communication with the
consum er, the debt collector shall not communicate further with the consumer With respect to such debt, except
-- (I) to advise the consumer that the debt'collector's further efforts are being tenninated;

--(2) to notify the consumer that the debt collector or creditor may invoke specified remedies which are
ordinarily invoked by such debt collector or creditor; or

--(3) where applicable, to notify the consumer that the debt collector or creditor intends to invoke a specified

remedy.
If such notice from the consumer is made by mail, notification shall be complete upon receipt

(d) For the purpose of this section, the term "consumer“ includes the consumer's spouse, parent (if the
consumer is a minor), guardian, executor, or administrator

l declare under penalty of perjury under the laws of the State of Ca|ifornia that the foregoing is true and correct
care 09-16-2013

Dickson Wong C-WAM\

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l:] Raspondent L__] Other (Specify):

 

F°'MM£” ATTAcr-rao nEcLARAnoN

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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 11 of 27 Page |D #:30

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._ PLArNTrFr=rPETrTroNER; Dickson Wong cAsE NuMsER:
oEFENoANT/RESPoNoENT: Portfolio Recovery Associates, LLC ' § 3 §§ 6 §§ ~‘3 § §§
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DECLARAT|ON
mile form must be attached to another form or court paper before it can be filed in court.)

SC-IOO, item: 3a)
2. Six counts ofFCRA ( Fair Credit Reporting Act):

FCRA: 1681s-2(a)(7): Financial institution must provide notice to the consumer when submitting negative
information to credit rating agency, must be within 30 days, must be in it's own mailing

l declare under penalty cf perjury under the laws of the State of Califomia that the foregoing is true and ccn'ect.
Date: 09-16~2013

 

 

    

 

Dickson Wong
(TYPEORFR|NTNAME)
m Atlomey for Plaintiff I:l etitioner m Defendant
i___.i Respondent |:] r ' ):
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MC-031[Rev.de1.2005]

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 12 of 27 Page |D #:31

MC-031

 

_ PLAINT\FF/PErmoNER; Dickson Wong cAsE NuMBER:

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cEFENoANr/RESPQNDENT: Portfolio Recovery Associates, LLC ' § §§ rig §§ § ’/l §§ §§

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DECLARATION
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SC-IOO, item: Ba)
2. Six counts of FCRA ( Fair Credit Reporting Act)

§ 616. Civil liability for willful noncompliance [15 U.S.C. § l681n]

(a) In general. Any person who willfully fails to comply with any requirement imposed
under this title with respect to any consumer is liable to that consumer in an amount
equal to the sum of:

(1) (A) any actual damages sustained by the consumer as a result ofthe failure or
damages of not less than $100 and not more than $1,000; or

(B) in the case of liability of a natural person for obtaining a consumer report
under false pretenses or knowingly without a permissible purpose, actual
damages sustained by the consumer as a result of the failure or $1,000,
whichever is greater; '

(2) such amount of punitive damages as the court may allow; and

(3) in the case of any successful action to enforce any liability under this section, the
costs of the action together with reasonable attomey's fees as determined by the court.

b) Civil liability for knowing noncompliance Any person who obtains a consumer report
from a consumer reporting agency under false pretenses or knowingly without a permissible
purpose shall be liable to the consumer reporting agency for actual damages sustained by the consumer

reporting agency or $1,000, whichever is greater.

l declare under penalty of perjury under the laws of the State of Ca|ifomia that the foregoing is true and correct
Date: 09-16-2013

Dickson Wong M(K"

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l:l Respondenr |_`_| other(specrn).-

 

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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 13 of 27 Page |D #:32

MC-031

 

PLArNTrFFrPErrnoNER: Dickson Wong cAsE agurs/ream
. . . -'" "
DEFENDANTIREsPoNoENT; Portfollo Recovery Assocrates, LLC s er ii er cl r.

 

 

 

 

DEC LARAT|ON
(This form must be attached to anotherfomr or court paperbefore it can be filed tri eourt,)

SC-lOO, item: 3a)
2. Six counts of FCRA ( Pair Credit Reporting Act)

.§ 617. Civil liability for negligent noncompliance [15 U.S.C. § 16810]

(a) In general. Any person who is negligent in failing to comply with any requirement
imposed under this title with respect to any consumer is liable to that consumer in an
amount equal to the sum of

(1) any actual damages sustained by the consumer as a result of the failure; and

(2) in the case of any successful action to enforce any liability under this section, the costs
ofthe action together with reasonable attomey's fees as determined by the court.

l declare under penalty of perjury under the laws of the State of Ca|ifomia that the foregoing is true and correct
Date: 09-16-2013

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mae on PRrN'r NAME; rsr

i.:] Defendant

 

 

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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 14 of 27 Page |D #:33

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t ' ita :'i ._,ia,li (‘-’__`": ~
oEFENoANTrREsPoNDENT; Portfolio Recovery Assoclates, LLC " ’

 

 

 

 

 

DECLARAT|ON
(Thr's form must be attached to another form or court paper before it can be filed in court )

"SC-IOO, item 3c):
Multiple FDCPA (Fair Debt Collection Practice Act) violations:
Fuil article at: (http://www.ii:c.gov/os/statutes/fdcpa/fdcpact.shtm)

§ 313. civil liability [15 Usc 16921<]

(a) Except as otherwise provided by this section, any debt collector who fails to comply with any provision of
this title with respect to any person is liable to such person in an amount equal to the sum of--

(1) any actual damage sustained by such person as a result of such failure;

(2) (A) in the case of any action by an individual, such additional damages as the court may allow, but not
exceeding $1,000; or

(B) in the case of a class action, (i) such amount for each named plaintiff as could be recovered under
subparagraph (A), and (ii) such amount as the court may allow for all other class members, without regard to a
minimum individual recovery, not to exceed the lesser of $500,000 or l per centum of the net worth of the debt

collector; and

(3) in the case of any successful action to enforce the foregoing liability, the costs of the action, together with a
reasonable attorney's fee as determined by the court. On a finding by the court that an action under this section
was brought in bad faith and for the purpose of harassment the court may award to the defendant attorney's
fees reasonable in relation to the work expended and costs.

t declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct
Date: 09~16-2013

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Drckson Wong M
mrPE on palm may rsre ran or o rm
i:i Attorney for P|ainti Petitioner [:I Defendani

i:i Respondent i:i Other(Specr'fy):

 

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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 15 of 27 Page |D #:34

 

_ PLArNTiFFrPEnnoNER: Dickson Wong cASE#punB§g; rt
§»S' 1.‘
osFENoANT/REsPoNDENT: Portfolio Recovery Associates, LLC

 

 

 

 

DECLARAT|ON
(Ti'ir's form must be attached to anotherfonn or court paper before it can be filed in court )
"SC-IOO, item 30):
Multiple FDCPA (Fair Debt Collection Practiee Act) violations:
Full article at: (http://www.ftc.gov/os/statutes/fdcpa/fdcpact.shtm)

§ 813. Civil liability [15 USC 1692k]
To continue (3):
(b) In determining the amount of liability in any action under subsection (a), the court shall oonsider, among

other relevant factors --

( l) in any individual action under subsection (a)(2)(A), the frequency and persistence of noncompliance by the
debt collector, the nature of such noncompliance, and the extent to which such noncompliance was intentional;

Ol"

(2) in any class action under subsection (a)(2)(B), the frequency and persistence of noncompliance by the debt
collector, the nature of such noncomplianee, the resources of the debt collector, the number of persons
adversely affected, and the extent to which the debt collector's noncompliance was intentional.

(c) A debt collector may not be held liable in any action brought under this title if the debt collector shows by a
preponderance of evidence that tire violation was not intentional and resulted from a bona tide error
notwithstanding the maintenance of procedures reasonably adapted to avoid any such error.

l declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true and correct
Date: 09-16-2013

 

  
    

 

Dickson Wong
(TYPE OR PRINT NAME)
[:i Attorney for Pl intili i:l titioner I:i Defendant
i:i Respondent l:l Oth criy):
F%'Mti°£m.'i“ ATrAcHEo oEcLARAnoN l mm

MC-DS‘| [Rev. JLiy 1, 2005]

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 16 of 27 Page |D #:35

fdc-031

 

PLA|NT|FF/PEnnoNER: Dickson Wong cAsE NuMeER:
DEFENoANTJREsPONDENT: Portfolio Recovery Associates, LLC ' § "j §§ 3 ii f'- z g

 

 

 

 

DECLARAT|ON
(This tenn must be attached to anotherform orcourt paper before it can be filed in oourt.)
"SC-IOO, item 3c):
Multiple FDCPA (Fair Debt Collection Practice Act) violations:
Fuil article at: (http://www.ftc.gov/os/statutes/fdcpa/fdcpact.shtm)

§813. Civil liability [15 USC 1692k]
To continue (3):

(d) Arr action to enforce any liability created by this title may be brought in any appropriate United States
district court without regard to the amount in oontroversy, or in any other court of competent jurisdiction,
within one year from the date on which the violation occurs.

(e) No provision of this section imposing any liability shall apply to any act done or omitted in good faith in
conformity with any advisory opinion of the Commission, notwithstanding that after such act or omission has
occurred, such opinion is amended, rescinded, or determined by judicial or other authority to be invalid for any
reason. ’

l declare under penalty of perjury under the laws of the State cf Ca|ifomia that the foregoing is true and correct
Dare: 09-16~2013

Dickson Wong CM-<\

(TYPE OR FRINT NAME) (SlGN.ATUR DECLARANT)
l:] Arromeyror Pi 'nriff I:l P ‘oner ij oefendam
)

l l:] Respondent [:i Other"(Sp'

 

 

F°l'“aa"”‘c..,,a°‘°°'°' °’“°'cam'“'”” ATrAcHr-:o nEcLARArloN

nl
MC-(B1[Rev.de1.2m5] PBQM°H

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 17 of 27 Page |D #:36

 

 

 

 

 

MC-031
PLAanFrPEnnoNER; Dickson Wong cAsE NuMBER:
_ a rs o a ri o ~, =“;
DEFENDANrmEsPoNoENr: Portfolro Recovery Assocrates, LLC l -:;~ L-,- ial il jj :`
DECLARATION

(This form must be attached to anotherfonn or court paper before itcan be fried in court.)

"SC-lOO, item 3c):
Multiple FCRA ( Fair Credit Reporting Act) violations:
Full article at: http://www.ftc.gov/os/statutes/O31224fcra.pdf

To continue (3):

616. Civil liability for willful noncompliance [15 U.S.C. § 1681n]

(a) 'Ir`r general. Any person who willfully fails to comply with any requirement imposed
under this title with respect to any consumer is liable to that consumer in an amount

equal to the sum of

(l) (A) any actual damages sustained by the consumer as a result of the failure or
damages of not less than $100 and not more than $1,000; or

(B) in the case of liability of a natural person for obtaining a consumer report

under false pretenses or knowingly without a permissible purpose, actual
damages sustained by the consumer as a result of the failure or $1,000,
whichever is greater; ’
(2) such amount of punitive damages as the court may allow; and

(3) in the case of any successful action to enforce any liability under this section, the
costs of the action together with reasonable attorney's fees as determined by the court.

(b) Civil liability for knowing noncompliance Any person who obtains a consumer report
from a consumer reporting agency under false pretenses or knowingly without a permissible purpose shall be
liable to the consumer reporting agency for actual damages -

sustained by the consumer reporting agency or $1,000, whichever is greater.

| declare under penalty of perjury under the laws cf the State of Ca|ifomia that the foregoing is true and conect.
Date: 09-} 6-2013

 

 

 

 

Dickson Wong
UYPE OR PR|NT NAME)
i:i Defendant
|:] Respondent [:] Other (Specify).'
F°Ma'&"idi'a°&l"£ll” A1'rAcHEb oEcLARAnoN
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Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 18 of 27 Page |D #:37

 

 

 

 

 

MC-031
_ PLAlNTlFFrPEnrroNER; Dickson Wong case NuMeER:
oEFENoANT/RESPQNDENT: Portfolio Recovery Associates, LLC ' : § § §§ 5 2 § :r?
DECLARAUON
(Thi’s form must be attached to anotherfonn orcourt paper before ft can be filed in oourt.)
"SC~l 00, item 3c):

.Multiple FCRA ( Fair Credit Reporting Act) violations:
Full article at: http://ww\v.fic.gov/os/statutes/031224fcra.pdf

To continue (3):
616. Civil liability for willful noncompliance [15 U.S.C. § l681n

c) Attorney's fees. Upon a finding by the court that an unsuccessful pleading, motion, or
other paper filed in connection with an action under this section was filed in bad faith or
for purposes of harassmenta the court shall award to the prevailing party attorney's fees
reasonable in relation to the work expended in responding to the pleading, motion, or
other paper.

d)Clarification of willful noncompliance F or the purposes of this section, any person who

printed an expiration date on any receipt provided to a consumer cardholder at a point of

sale or transaction between December 4, 2004, and the date of the enactment of this subsection but otherwise
complied with the requirements of section 605(g) for such receipt

shall not be in willful noncompliance with section 605(g) by reason of printing such

expiration date on the receipt.

l declare under penalty of perjury under the laws of the State of Ca|ifomia that the foregoing is true and correct
Date: 09-16~2013

Dickson Wong %G_
.. j mm

(TYPE OR PRINT NAME)

 

 

     

i:i Attomey for P|aintiff l Petitioner i:] Defendant
i:l Respondent i:i ¢ er (Specify):

 

F%'L"aaa”°'cam°"°°"i'a°§i££” ATrAcr-rso oEcLARATloN
M{>Uo1[Rev.de1.mqu PWMoH

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 19 of 27 Page |D #:38

MC-031

 

_ PLAINT\FF/PEnrloNER; Dickson Wong case NuMBER; y
_ ,? a
oEFENoANrrREsPoNoENT: Portfolio Recovery Associates, LLC ' ‘§ 3 6 §§ 5 2 § !

 

 

 

 

DECLARA'HON
(Thls form must be attached to another form orcourt paper before itcan be filed in eourt.)

SC-IOO, item: 3c)
To summarize:

Multiple FDCPA violations ( max. at $1,000.00 ) plus multiple FCRA violations ( 6 x $1,000 cach) = $7,000.00

l declare under penalty of perjury under the laws of the State of Ca|ifornia that the foregoing is true and correct
Date: 09-16-2013

Dickson Wong "% ///OR

 

   

 

masonme many
l:l Attomey for Plaln Petitioner l.:l Defendant
l:l Respondent l:l Other (Speci)jr):
W'°'°B§.£'° ArrAcHEo oEcLARATloN nw d
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now nm rmy1.zoos]

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 20 of 27 Page |D #:39

 

Case Num r:~. d » , .-.
tcassg§{

 

Plaintilf (list names).' ;Z)//Kscsv ajqu

@ You must ask the Defendant (i person, in writing, or by phone) to pay you before you
sue. Have you done thls? Yes l:] Nc
[fno, explain why not:

 

 

® Why are you filing your claim at this courthouse?
This urthouse covers the area (check the one that applies):
,.dl/ a. (l) Where the Defendant lives or does business (4) Where a contract (written or spoken) was made,

(2) Where the U§llnliff’ipmp£lwmged. Signed, performed, or broken by the Defendant or
(3) Where the plaintiff Was injured_ where the Defendant lived or did business when

the Defendant made the contract
b. |:| Where the buyer or lessee signed the contract, lives now, or lived when the contract was made, if this claim
is about an offer or contract for personal, family, or household goods, services, or loans. (Coa'e Civ.
Proc., § 395(1)).)
c. [l Where the buyer signed the contract lives now, or lived when the contract was made, if this claim is about
a retail installment contract (like a credit card). (Civil Code, § 1812.10.)
d. l:l Where the buyer signed the contract, lives now, or lived when the contract was made, or where the vehicle
is permanently garaged, if this claim is about a vehicle finance sale. (Civil Code, § 2984.4.)

\

e. OtherCrpecijj)): t £ civ » '.c..\. - 1.~ . d .¢ ‘ - ; )lin`rfl'h`m
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.`E~_LLLSMM scc/wmc
@ Lict the zip code cf thc place checked m © above @yycu cww).»jt&zl____icw.gd§

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® ls your claim about an attorney-client fee dispute? l:l Yes l?(Nc
Ifyes, and if you have had arbitration fill out Form SC~IOI, attach it to this form and check here: l:l

Are you suing a publlc entity? l:l ch E(Nc
Ifyes, you mus!]?le a written claim with the entity jirst. L_.l A claim was filed on (a'ate):
[fthe public entity denies your claim or does nor answer within the time allowed by law, you can file this form
Have you led more than 12 other small claims within the last 12 months in California?
l:l Yes No [fyes, the fling jee for this case will be higher.

 

 

l understand that by filing a claim ln small claims court, | have no right to appeal this c|alm.

® I have not liled, and understand that I cannot iile, more than two small claims cases for more than $2,500 in
California during this calendar ycar.
I declare, under penalty of perjury under California State law, that the information above and on any attachments to
this form is true and correct.

Date: didn [_\¢1?, _;[)m=\(<_»,_o,@é)_“m } (Wm

Plaintz_‘{ft)n)es or print.ulame here Plaintij"signs ere

Date: , 1
Second Plaintzj"types or prints name here Second Plaintzj#`signs here

§§ Requests for Accommodations

§§ Assistive listening systems, computer-assisted, real-time captioning, or sign language interpreter

g § ` services are available if you ask at least 5 days before the trial. Contact the clerk’s oflice for Forrn

` guise MC~410, Requestfor Accommodan'ons by Persons With Disabilities and Response. (Civil Co&, § 5 4. 8. )

"°""°"“"’“""'”°“" P|alntiff's Claim an_d ORDER 36'1°°»P°9€ 3 °'5
to Go to Small Claims Court 9
(Smal| Claims)

 

 

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 21 of 27 Page |D #:40

MC-O$‘l

 

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PLAanFFIPErrnoNER: Dickson WOng CASE NUMBE
oEFENDANTmEsPoNDENT; Portfolio Recovery Associates, LLC ` l §§

§Z`D

 

 

 

S§E§?

 

DECLARAT|ON
(This form must be attached lo another form or court paper before it can be filed in court.)

"SC-IOO, item Se):
FCRA :

http ://www.ftc.gov/os/stamtes/OB 1224fcra.pdf

§ 611 8. Jun'sdiction of courts; limitation of actions [15 U.S.C. § 1681p]

An action to enforce any liability created under this title may be brought in any appropriate

United States district court, without regard to the amount in controversy, or in any other court of competent
jurisdiction, not later than the earlier of (l) 2 years alter the date of discovery by the plaintiff ofthe violation
that is the basis for such liability; or (2) 5 years alter the date on which the violation that is the basis for such

liability occurs.

FDCPA:
http://www.ftc.gov/os/ZOI 1/07/1 10720fcrareport.pdf Page 89

Section 618 - Jurisdiction of Courts; Limi’tation of Actions 15 USC 1681p

Section 618 allows civil actions to be brought in any court of competent jurisdiction not later than the earlier of
(l) two years alter the date of discovery by the plaintiff of the violation or (2) five years after the date on which

the violation occurred.

l declare under penalty of perjury under the laws of the State cf Califomia that the foregoing is true and correct
Datc: 09-16-2013

 

 

 

Dickson Wong
(TYPE OR PR|NT NAME) { TURE OF DEC
|] Aucrncy for Plaimifr Pctnicner l:l Dcfcndam
El Respondent l:] Other (Specfly).'
F°'t{.“sds*‘°“ccm°”°‘"°'c “‘° ATTAcHEo oEcLARATloN mt m

Case 2:13-CV-O7714-F|\/|O-P.]W Document 1 Filed 10/18/13 Page 22 of 27 Page |D #:41

-mformation for the Defendant (the person being sued)

 

“Sma|l claims cou rt” is a special court where claims
for $5,000 or less are decided. A “natural person” (not a
business or public entity) may generally claim up to
810,000, including a sole proprietor. (*See below for
exceptions.) The process is quick and cheap. The rules are
simple and informal.

You are the Defendant_the person being sued. The
person who is suing you is the Plaintiff.

Do l need a lawyer?

You may talk to a lawyer before or after the case. But you
may nor have a lawyer represent you in court (unless this
is an appeal from a small claims case).

How do l get ready for court?

You don’t have to tile any papers before your trial, unless
you think this is the wrong court for your case. But bring
to your trial any witnesses, receipts, and evidence that
supports your case. And read “Be Prepared for Your
Trial” at www. courtscagov/smallclaims/jvrepare.

What ill need an accommodation?

If you have a disability or are hearing impaired, till out
Forrn MC-410, Request for Accommodorions. Give the
form to your court clerk or the ADA/Access Coordinator.

What if| don’t speak English well? f

Bring an adult who is not a witness to interpret for you, or
ask the court clerk for an interpreter at least five days before
your court date. A court-provided interpreter may not be

Do l have opt|ons?

Yes. If you are being sued, you can:

Settle your c`ase before the tria|. If you and the
Plaintiti` agree on how to settle the case, both of you must
notify the court. Ask the Small Claims Advisor for help.

- Prove this is the wrong court. Send a letter to the
court before your trial, explaining why you think this is
the wrong court. Ask the court to dismiss the claim.
You must serve (give) a copy of your letter (by mail or
in person) to all parties. (Y our letter to the court must
say you have done this.)

Go to the trial and try to win your case. Bring
witnesses, receipts, and any evidence you need to
prove your case. To make sure the witnesses go to the
trial, fill out Form SC-107, and the clerk will subpoena
(order) them to go.

' Sue the person who is suing you. File Fonn
SC»IZO, Defendant’s Claim. There are strict filing
deadlines you must follow.

Agree with the Plalntift’s claim and pay the
money. Or, if you can’t pay the money now, go to
your trial and say you want to make payments

Let the case l‘default.” lf you don’t settle and do not
go to the trial (default), the judge may give the Plaintiff
what he or she is asking for plus court costs. If this
happens, the Plaintiff can legally take your money,
wages, and property to pay the judgment

available or there may be a fee for using a court interpreter what in need m°"_* time?_ _
unless you qualify for a fee waiver. You may ask the court Y°u can change the mal date lf- _
for a list of interpreters and also the Applr‘cation for Woiver ‘ Y°u cannot go to court on the Scheduled date (YOU Wlll

ofCourt Fees and Costs (fortn FW-OOI).

Where can l get the court forms l need?
Go to any courthouse or your county law library, or print
forms at: www.courtscagov/smallclaims{forms.

What happens at the trial?
The judge will listen to both sides. The judge may make a
decision at your trial or mail the decision to you later.

What If| lose the case?

If you lose, you can appeal You’ll have to pay a fee.
(Plaintitfs cannot appeal their own claims.)

If you were at the trial, file Form SC- 140, Notice of
Appeal. You must tile within 30 days after the
judge’s decision

If you were not at the trial, fill out and tile Form
SC- 135, Notr'ce ofMotion to Vacate Judgment and
Declora!ion, to ask the judge to cancel the judgment
(decision). If the judge does not give you a new
trial, you have 10 days to appeal the decision File
Form SC-140.

For more information on appeals, see:
www.courts.ca.gov/smallclar'ms/appeals.

'Exceptions: Difl`erent limits apply in an action against a defendant who is a

®

have to pay a fee to postpone the trial) or

You did not get served (receive this order to go to

court) at least 15 days before the trial (or 20 days if you

live outside the county) or

- You nwd more time to get an interpreter. One
postponement is allowed, and you will not have to pay
a fee to delay the trial.

Ask the Small Claims Clerk about the mles and fees for

postponing a trial. Or till out Forrn SC- 150 (or write a

letter) and mail it to the com't and to all other people listed

on your court papers before the deadline Enclose a check

for your court fees, unless a fee waiver was granted

’

Need help?
Your county’s Small Claims Advisor can help for free

l l

Or go to www.courts.ca.gov/smallclor°ms/advisor.

guarantor (See Code Civ. Proc. § 116220(c).) ln an action brought by a neutral person for

damages for bodily injuries resulting from an automobile aceident, a $7,500 limit applies if a defenth is covered by an automobile insmance policy that includes a duty

to dcfend. (Soe CDdc Civ. Proc. § 116.221.)
Re\noedJamary 1, 2012

Plalntlff’s Claim and ORDER to Go to Small Claims Court
tSmall Claimst

SC-100, Pa¢e 4 of 5
_)

Case 2:13-CV-O7714-Fl\/|O-P.]W Document 1 Filed 10/18/13 Page 23 of 27 Page lD #:42

SC"IOO lnformacién ara el demandado la ersona demandada

La “Corte de reclamos menores" es una corte especial
donde se deciden cases per $5,000 o menos. Una "persona
natural" (que no sea un negoch ni una entidad publica)
puede reclamar hasta $10,000. Una “persona natural" (que
no sea un negocio ni una entidad publica), que incluye un
dueilo unico. generalmente puede reclamar hasta $10,000.
(* Vea abajo para las excepciones.) E| proceso es rapido y
barato. Las reg|as son senci||as e informa|es.

Usted es el Demandado - la persona que se esta demand-

ando. La persona que lo esta demandando es el Demandante.

(,Necesito un abogado?
Puede hablar con un abogado antes o después del caso.
Pero no puede tener a un abogado que lo represente ante
la corte (a manos que se trate de una ape|acion de un case
de reclamos menores).

¢Cémo me prepare para tr a la corte?

No tiene que presentar ningunoe papeles antes del juicio, a

menos que piense que esta es la corte equivocada para su

caso. Pero lleve al juicio cualquier testigos, recibos. y

cualquier pruebas que apoyan su caso. Y lea “Este

preparado para su juicio" en:
www.courts.ca.gov/raclamosmenores/preparese.

¢,Qué hago si neceaito una adaptaclén?

Si tiene una discapacidad o tiene impedimentos de

audicién, llene el fonnulario MC~410. Request for

Accomodatr'ons. Entregue el formulario al secretario de la

cone o al Coordinador de AccesolADA de su porte

¢Qué pasa sine hablo inglés blen?

Traiga a un adulto que no sea testigo para que le sirva de

intérprete. 0 pida al secretario de la corte que le asigne uno.

Si quiere que la corte le asigne un intérprete, lo tiene que

pedir come minimo menos cinco dias antes de la fecha en

quetenga que ir a la corte. Es posib|e que no haya disponib|e
un interprete proporcionado por la corte 0 que tenga que

pagar una cuota por emplear un intérprete de la corte, a

menos que tenga una exencion de cuotas. Puede pedir a la

corte una lista de interpretes y la So|icitud de exencién de
cuotas y costos de la corte (formulario FW-001).

¢Dénde puede obtener los formularios de la corte que

necesito?

Vaya a cualquier edilicio de la corte, la biblioteca legal de su

condado, o imprima los formuiarlos en: www.courts.ca.gov/

smalldaims/fonns (pagina esté en inglés).

¢Qué pasa en el iulcio?

El juez escuchara a ambas partes. E| juez puede tomar

su decision durante la audiencia o enviarsela por correo

después.

£,Ql.lé pasa si plerdo el caso?

Si pierde, puede apelar. Tendra que pagar una cuota. (El

Demandante no puede apelar su propio reclamo.)

. Si estuvo presente en el juicio, llene el formulario
SC-140, Aviso de apeiacion. `liene que presentarlo
dentro de 30 dias depués de la decision del juez.

. Si no estuvo en el juiclo, llene y presents el formu|ario
SC~135, Av.-'so de peticién para anular el ratio y
Declaracion para pedirle al juez que anule el fa||o
(decision). Si la corte no le otorga un nuevo juicio, tiene
10 dias para apelar la decision. Presente el formu|ario
SC-14D.

Para obtener mas informacion sobre las ra\pelacione:-:`l vea:

www.courts.ca.gov/mclamosmenores/apelaciones.

mead mm 1. 2012

Reclamo del Demandante y ORDEN

¢Tengo otras opclones?

Sl. Si lo estan demandando, puede:

- Resolver su c'aso antes del |ulcio. Si usted y el
Demandante se ponen de acuerdo en resolver el caso,
ambos tienen que notiticar a la oorte. Pldale al Asesor de
Reclamos Menores que lo ayude.

' Probar que es la oorte equivocada. Envie una carta a la
corte antes del juicio explicando por qué cree que es la
corte equivocada. Pldale a la corte que despida el
reclamo. Tiene que entregar (dar) una copia de su carta
(por correo o en persona) a todas las partes. (Su carta a la
corte tiene que decir que hizo la entrega.)

' tr al juicio y tratar de ganar el caso. L|eve testigos,
recibos y cualquier prueba que necesite para probar su
caso. Para asegurarse que los testigos vayan al juicio,
llene el fonnu|ario SC»l 07. y el secretario emitira una
orden de comparecencia ordenandolee que se presenten.

- Demandar a la persona que lo demandé. Presente el
fomtulario SC-120, Reclamo del demandado. Hay fechas
limite estrictas que debe seguir.

- Aceptar el reclamo del Demandante y pagar el
dinero. O, si no puede pagar en ese momento, vaya al
juicio y diga que quiere hacer los pagos.

' No lr al juicio y aceptar el fa|lo por falta de
comparecencia. Si no |lega a un acuerdo con el
Demandante y no va al juicio (fal|o por fa|ta de
comparecencia), el juez le puede otorgar al Demandante
lo que esta reclamando mas los costos de la corte. En ese
caso, el Demandante legalmente puede tomar su dinero,
su sueldo o sue bienes para cobrar el fal|o.

¢Qué hago si necestto mas tiempo?

Puede oambiar la fecha del iuicio si:

. No puede ir a la oorte en la feoha programada (tendré que
pager una cuota para aplazar el juicio) o

. No le entregaron los documentos lega|rnente (no reeibié la
orden para ir a la eorte) por lo manos 15 dias antes del juicio
(6 20 dias si vive fuera del eondado) o

v Neoesita mas tiempo para conseguir lntérprete. (Se pennite un
solo aplazamiento sin tener qua pager cuota para aplazar el
juicio).

Pregl'mte|e al secretario de reclamos menores sobra las

reg|as y las cuotas para aplazar un juicio. 0 llene el

formulario SC-150 (o escriba una carta) y envlelo antes del
plazo a la corte ya todas las otras personas que tiguran en
sus papeles de la corte. Adjunte un cheque para pagar los
coates de la eorte, a menos que le hayan dado una exencién.

¢Neceslta ayuda? E| Asesor de Reclamos

_ Menores de su eondado le puede ayudar sin cargo.

l f

| I

0 vea “lnformacion por condado' en:
www.oourts.ca.gov/rec!amosmenores/asesores.

*Exeapclonee: Existen diferentes llmitee en un redamo contra un garante. (Vea el
Oodtgo de Prooadlmianlo Clvll. sudden 118.220 (c).) En un mo presentado por
una persona natural por danos debldo a leslones flsieaa en un aecldante
ammovlllstloo. exists un limite de $7,500 st el damandado tiene eobertura beto una
poliza de segura de vehloulo qua lne|uye la obligaeion do dofendar. (Vea et Codigo
de Prooedimiento Clvii. seeeian 116.221.)

SC-‘IOD, Page 5 of 5

Para tr a la gort_e_ghe_ l_'\:eclam___os Menores

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Case 2:13-CV-O7714-Fl\/|O-P.]W Document 1 Filed 10/18/13 Page 24 of 27 Page lD #:43

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OP CALIFORNIA

NOTICE ()F ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District lodge Fernando M. Olguin and the assigned
Magistrate ]udge is Patrick]. Walsh

The case number on all documents filed with the Court should read as follows:

2:13-CV~7714-FMO (P]WX)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court

 

 

 

 

October 18, 2013 By MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons end complaint on all defendants (ifo removal action is
jiled, o copy of this notice must be served on all plointijj%).

Subsequent documents must be filed at the following location:

Western Division |:| Southern Division |:1 Eastern Division
312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 347() TWelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Fail re to file at the proper location will result in your documents being returned to you.

 

CV»IB (081'13) NOTICE OF ASSIGNMENT T() UNITED STATES ]UDGES

Case 2:13-CV-O7714-Fl\/|O-P.]W Document 1 Filed 10/18/13 Page 25 of 27 Page lD #:44
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l. (a) PLA¥`NTIFFS { Checl{ box il" you are representing you_rseii }

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{`Check`box if you are representing yourself §:1 )

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1 Dickson Wong

     
 

l A'|harnbra,'CA 91801

x 222 5. Curtis Avenue. Apt. D

mm{b) Attorneys (Firm Name, A'dolress and telephone Numt;\er. lfyou
». are representing yourself provide same information }

iii 151 283-1000. Fax

 

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(b) Attorneys (Firm Name_, Address and retephone Nu_ml:=er. if you
are representing yourse|f, provide same informational
Jefirey__A. Topor (_SSN 195545); Arvin C, l.ugay {SBN 242599)
S_iMMON DS & NARITA LLP
_ 44 Montgomery St`reet, Suite 3010, San Franclsco, CA 94104

 

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V§. `CAU$E {}F AC'T!ON (Cite the U-.Si Civil Statute under which you ara filing and write a brief statement of causef Do not'citejurisdictiona| statutes unless diversity.]
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Case 2:13-CVMV|JE’-DFSN|QFE’SW|S'ER1MURT, EMRMB’[S‘IREHQ,BFZBMFIEGRNMQG |D #:45
civiL covER sHEET

Vlll. VENUE: Your answers to the questions below will determine the division ofthe Court to which this case will most likely be initially assigned This initial assignment

is subject to change, in accordance with the Court's Genera| Orders, upon review by the Court of your Complaint or Not'ice of Remova|.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question A: Was this case removed from STATE CASE WAS PENDING lN THE COUNTY OF: |N|TlAL D|VlSlON |l\l CACD lS:
state Court?
13 Yes |:| No Los Ange|es Westem
if "l'lO. " 90 tO QUESfiDI’i B. llc "y€$," ChECk the |:| Ver'itura, Santa Barbara, or San Luis Obispo Westem
box to the right that applies, enter the
corresponding division in response to |:| Orange Southem
Question D, below, and skip to Section lX. E
|:| Riverside or San Bernardino astern
guesti°"_B: ls the united states °r °m_a of if the United States, or one of its agencies or employees is a party, is it:
its agencies or employees, a party to this
action? lNlTlAL
A PLAlNTlFF? A DEFENDANT? D|VlSlON |N
CACD IS:
Y
|:| es |Z' NO Then check the box below forthe county in Then check the box beiow for the county in
which the majority of DE?ENDANTS reside which the majority of PLA|NT|FFS reside.
lf "no, " go to Quesi:ion C. |f"yes," check the I:_l LOS Ang€|€$ [:l LOS ADQE|ES WESTEm
box to the r'g m th_at_ applies' amer the Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
corresponding division in responseto l:l . [:I . WeStErn
_ _ 4 Obispo Obispo
Question D, below, and skip to 5ection |X.
|j Orange :| Orange Southern
|] Riverside or San Bernardino |:| Riverside or San Bernardino Eastern
|:] Other [:] Other Westem
A. B. C. D. E. F.
Questiori C: Location of Los Ange|es Ventura, Santa Barbara,_ or Orange County Riverside or San Outside the Centra| Other
Plaintiffs, defendants. and claims? C°Lmty San LU'S Ob'SPO COU"'t'P-S Bernardino Counties District of Callfornia
indicate the location in which a
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indicate the location in Which a
majority of claims arose: m |:| i:| i:| |:l |:|

 

 

 

 

 

 

 

C.‘l . ls either of the following true? lf so, check the one that applies:
|:| 2 or more answers in Co|umn C

E only 1 answer in Co|umn C and no answers in Co|umn D

‘(our case will initially be assigned to the
SOUTHERN D|V|SlON.
Enter "Southern" in response to Question D, below.

|f none appliesl answer question C2 to the right »

 

C.2. ls either of the following true? lf so, check the one that applies:
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E onlyi answer in Co|umn D and no answers in Co|umn C

Your case will initially be assigned to the
EASTERN DlV|S|ON.
Er'iter "Eastern" iri response to Question D, below.

if none applies go to the box below. t

 

Your case will initially be assigned to the
WESTERN D|VlS|ON.
Enter "Western" in response to Question D below.

 

 

 

Questinn D: lnitial Division?

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Enter the initial division determined by Question A, B, or C above: *

 

Western

 

 

CV-71 (09/13} ClVlL COVER SHEET Page 2 of 3

 

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ClVlL COVER SHEET
|X(a). lDENT|CAL CASES: Has this action been previousiy filed in this court and dismissed, remanded or closed? NO |:| YES
lf yes, list case number(s):
lX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO [:| YES

|f yes, list case number(s):

 

Civil cases are deemed related ifa previously filed case and the present case:

{Check all boxes that apply)

|:] A. Arise from the same or closely related transactions happenings, or events; or

i:| B. Ca|| for determination of the same or substantially related or similar questions of law and fact; or

[:| C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

m D. involve the same patent, trademark or copyrightl and one ofthe factors identified above in a, b or c also is present

 

X. S|GNATURE OF ATTORNEY
{OR SELF-REPRESENTED LlTlGANT}:

 

/L,\f Z-> DATE; Ocroberis, 2013
v w ‘/

Notice to Counse|/Parties: The CV-?i (JS-44} Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerl< of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

i-||A

BL

D|WC

D|WW

SS|D

RSl

Substantive Statement of Cause of Action
A|| claims for health insurance benefits (Nledicare) under Title iB. Part A, of the Social Security Act, as amended Also,
include claims by hospitals, skilled nursing facilities, etc.l for certification as providers of services underthe program
(42 U.S.C. 1935FF(b})

Al| claims for "Black Lung" benefits underTit|e 4, Part B, of the Federal Coa| Mine Health and Safety Act of 1969. (30 U.S.C.
923)

Al| claims filed by insured Workers for disability insurance benefits under Title 2 ofthe Social Security Act, as amended; plus
all claims filed for chi|d's insurance benefits based on disability. (42 U.S.C. 405 (g))

A!l claims filed for widows or widowers insurance benefits based on disability under`fit|e 2 of the Social Security Act. as
amended (42 U.S.C. 405 (g))

Al| claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Security Act, as
amended.

A|| c§aims for retirement {o|d age) and survivors benefits under Title 2 Of the Social Security Act, as amended
(42 U.S.C. 405 (g)i

 

CV-71 lO9/13)

ClVlL COVER SHEET Page 3 of 3

